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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE
         ----------------------------------------------------------x
                                                                   :
         In re                                                     : Chapter 11
                                                                   :
         ALPHA ENTERTAINMENT LLC,                                  : Case No. 20-10940 (LSS)
                                                                   :
                           Debtor.   1                             :
                                                                   : Ref. Docket No. 55
         ----------------------------------------------------------x

                          DECLARATION OF WILLIAM H. HARDIE III IN SUPPORT
                                 OF BIDDING PROCEDURES MOTION

                  I, William H. Hardie III, make this declaration (this “Declaration”) under 28 U.S.C. § 1746

         and state as follows:

                  1.       I am a Managing Director in the Financial Restructuring Group of Houlihan Lokey

         Capital, Inc. (“Houlihan Lokey”), proposed investment banker to the above-captioned debtor and

         debtor-in-possession (the “Debtor”). I submit this Declaration in support of the Debtor’s Motion

         for Entry of (A) an Order (I) Approving Bidding Procedures in Connection with the Sale of

         Substantially All of the Debtor’s Assets; (II) Scheduling an Auction for and Hearing to Approve

         the Sale; (III) Approving Notice of Respective Date, Time and Place for Auction and for Hearing

         on Approval of Sale; (IV) Approving Procedures for the Assumption and Assignment of Certain

         Executory Contracts and Unexpired Leases; (V) Approving Form and Manner of Notice Thereof;

         and (VI) Granting Related Relief; and (B) an Order Authorizing and Approving (I) the Sale Free

         and Clear of Liens, Claims, Rights, Encumbrances, and Other Interests; and (II) the Assumption




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          The last four digits of the Debtor’s federal tax identification number are 7778. The Debtor’s mailing address is 1266
         East Main St., Stamford, CT 06902.
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         and Assignment of Certain Executory Contracts and Unexpired Leases and (III) Related Relief

         [Docket No. 55] (the “Bidding Procedures Motion”).2

                 2.       Except as otherwise indicated, all statements in this Declaration are based upon my

         review of relevant documents, my discussions with the Debtor and its professionals, my

         discussions with other members of the Houlihan Lokey team working on this engagement, and my

         personal knowledge and experience. If I were called upon to testify, I could and would testify to

         each of the facts set forth below.

         A.      Qualifications

                 3.       Houlihan Lokey is an internationally recognized investment banking and financial

         advisory firm, with 22 offices worldwide and approximately 1,200 professionals. The firm is one

         of the leading providers of M&A fairness opinions and has one of the largest worldwide financial

         restructuring practices of any investment bank. Houlihan Lokey annually serves more than 1,000

         clients ranging from closely held companies to Global 500 corporations.

                 4.       Houlihan Lokey’s Financial Restructuring Group, which has approximately 225

         professionals, is one of the leading advisors and investment bankers to debtors, unsecured and

         secured creditors, acquirers, and other parties-in-interest involved with financially troubled

         companies both in and outside of bankruptcy. Houlihan Lokey’s Technology, Media & Telecom

         Group was ranked as the leading M&A advisor for United States technology, media,

         entertainment, and telecom transactions under $1 billion over the past six years.

                 5.       Houlihan Lokey has been, and is, involved in some of the largest restructuring cases

         in the United States, including representing debtors in: In re Promise Healthcare Group, LLC,




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          Capitalized terms used but not otherwise defined herein shall have the meanings given to such terms in the Bidding
         Procedures Motion.
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         Case No. 18-12491 (CSS) (Bankr. D. Del. November 5, 2018); In re Heritage Home Grp. LLC,

         Case No. 18-11736 (KG) (Bankr. D. Del. July 29, 2018); In re Walter Inv. Mgmt. Corp., Case No.

         17-13446 (JLG) (Bankr. S.D.N.Y. Nov. 30, 2017); In re Angelica Corp., Case No. 17- 10870

         (JLG) (Bankr. S.D.N.Y. May 9, 2017); In re Gawker Media LLC, Case No. 16-11700 (SMB)

         (Bankr. S.D.N.Y. June 10, 2016); In re Relativity Fashion, LLC, Case No. 15-11989 (MEW)

         (Bankr. S.D.N.Y. Feb. 1, 2016); In re Phoenix Brands, LLC, Case No. 16-11242 (BLS) (Bankr.

         D. Del. Jul. 5, 2016).

                6.      I hold a B.S. in Economics from the University of Alabama and a J.D. from

         Vanderbilt University.

                7.      Prior to joining Houlihan Lokey in January of 2000, I was Executive Vice President

         at Marvel Enterprises, Inc., where I led that company’s efforts to acquire Marvel Entertainment

         Group out of Chapter 11, including arranging over $750 million in financings, managing the

         divestiture of several non-core businesses, managing the company’s domestic and international

         licensing activities (motion picture, television, clothing, character statues, games, etc.), and serving

         as general counsel.

                8.      Since joining Houlihan Lokey, I have managed numerous debtor- and creditor-side

         restructuring assignments involving businesses in various industries, including the energy,

         gaming, cable operators, and general industrial sectors. During that time, I have been involved in

         approximately 35 chapter 11 cases, including numerous cases involving the sale of substantially

         all of the debtor(s) assets in which I led or co-led the engagement.

         B.      Houlihan Lokey Engagement and Involvement in the Debtor’s Case

                 9.     Houlihan Lokey was engaged by the Debtor pursuant to an engagement letter dated

         May 8, 2020 (the “Engagement Letter”).


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                10.     At the time of Houlihan Lokey’s entry into the Engagement Letter, based on

         discussions with the Debtor’s management and advisors, I understood that the Debtor intended to

         undertake an efficient sale process over a period of approximately 90 days. I and my colleagues

         at Houlihan Lokey believe, and believed then, that this timeline was achievable. However, I

         understand that, as an accommodation to the Committee, the Debtor has negotiated a 25-day

         extension of that timeline, resulting in a 115 day process, which I and my colleagues at Houlihan

         Lokey likewise believe to be achievable.

                11.     Since our engagement, I and my colleagues at Houlihan Lokey have worked

         extensively with the Debtor’s management to prepare for and advance the Debtor’s sale process

         on the proposed timeline, including performing necessary due diligence, establishing a confidential

         data room, and preparing marketing materials such as a teaser, a process letter, and a detailed

         confidential information memorandum (“CIM”) to be provided to prospective purchasers. I and

         other Houlihan Lokey team members worked closely with the Debtor’s management to develop

         and finalize the CIM, including undertaking a thorough analysis of the financial model and other

         projections underlying the business plan set forth in the CIM.

                12.     I believe that the creation of the foregoing marketing materials would not have been

         possible without the assistance of the Debtor’s remaining employees. Relatedly, the Debtor’s

         remaining employees have substantial institutional knowledge about the XFL that will be critical

         to a value-maximizing sale process and a potentially valuable asset from the perspective of

         interested bidders, particularly those hoping to re-launch the league for the 2021 season.

         C.     The Bidding Procedures and Sale Timeline

                13.     I have reviewed and am familiar with the Bidding Procedures Motion and the

         related Bidding Procedures.


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                 14.     I believe the Bidding Procedures will establish a fair, open, and competitive

         postpetition bidding and auction process. It is my opinion that the Bidding Procedures and the

         Debtor’s proposed sale timeline (as extended, the “Sale Timeline”) will allow the Debtor to obtain

         the highest or otherwise best value for the Debtor’s assets under the circumstances of the Chapter

         11 Case. More specifically, I believe the Sale Timeline, including the proposed Stalking Horse

         Bid Deadline and Bid Deadline and proposed Auction and Sale Hearing dates, is achievable and

         appropriate under the circumstances of the Chapter 11 Case.

                 15.     Such circumstances include that, under the Debtor’s current budget, the Debtor’s

         cash collateral will run out by mid-August, whereupon the Debtor would require access to debtor-

         in-possession financing to continue to fund the Chapter 11 Case and sale process.

                 16.     I believe that the proposed 115-day sale process is particularly appropriate here for

         several reasons. The potential for the XFL season to have a football season in spring 2021 is one

         of the most significant factors driving the value of the Debtor’s assets. Houlihan Lokey is currently

         in active conversations with dozens of potential purchasers. Substantially all potential purchasers

         have indicated to Houlihan Lokey that the potential for an XFL season in spring 2021 is important

         to them. Reasons include a desire to generate revenue and further establish the league in a content

         starved environment in spring 2021 and to avoid leaving white space out to 2022 allowing others

         to act on such opportunity. Potential purchasers have expressly informed Houlihan Lokey that

         without a spring 2021 season they would likely offer a lower purchase price, or may choose not to

         bid all together.

                 17.     It is my opinion that delaying the Debtor’s sale process by another 40 days like the

         Committee suggests would make it less likely that the XFL would be in position to have a season

         in spring 2021. Accordingly, I believe that delaying the Debtor’s sale process by another 40 days


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         like the Committee suggests would decrease the number of potentially interested bidders. I further

         believe that, if the Debtor’s sale process is delayed for another 40 days like the Committee

         suggests, bids would be lower because potential bidders would be forced to price in the increased

         risk that the XFL would not be able to generate any revenue until 2022.

                18.     The marketing process for the Debtor’s assets is well underway. As of May 25,

         2020, Houlihan Lokey had distributed teasers to approximately 235 potential purchasers. As of

         that date, 20 potential purchasers had executed NDAs and gained access to a data room containing

         extensive diligence materials, including a Confidential Information Memorandum that Houlihan

         Lokey added to the data room on May 21, 2020. As of May 25, 2020, an additional 6 potential

         purchasers were in the process of executing NDAs to gain access to the data room. Based on

         preliminary feedback, I believe there is a robust market for the Debtor’s assets, including a number

         of potentially interested private equity firms and other financial sponsors. Indeed, the XFL’s

         bankruptcy is high-profile and has received extensive media coverage outside of the restructuring

         industry itself. In addition to the potential purchasers that Houlihan Lokey contacted, Houlihan

         Lokey has received 26 unsolicited inquiries from parties potentially interested in submitting a bid

         for the Debtor’s assets.

                19.     Accordingly, I do not believe the current global health and economic crises related

         to COVID-19 will materially affect the Debtor’s ability to market and sell its assets. Potential

         purchasers are buying the concept of the XFL, its brand, and its unique platform. The Debtor’s

         core assets are intangible property—specifically, intellectual property. These assets require

         desktop diligence and conversations with management; they do not require significant inspection

         or other onsite diligence. Further, because the Debtor was only in its inaugural season, potential

         purchasers do not have years of historical financial data to diligence. As I explained above,


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         Houlihan Lokey is currently in active discussions with dozens of potentially interested parties.

         Even with the COVID-19 pandemic, none of these potentially interested parties have indicated, or

         even suggested, that the Debtor’s proposed Sale Timeline would not provide enough time for their

         due diligence.

                20.       Were it not for the COVID-19 pandemic, the XFL would not be for sale in the first

         place. Prior to the cancellation of its inaugural season, the Debtor demonstrated the XFL’s

         significant potential. I believe that potential purchasers recognize that the COVID-19 pandemic

         has presented a unique opportunity to buy assets that would not otherwise available for sale,

         including this once-in-a-lifetime opportunity to buy a professional sports league. I believe that the

         XFL is particularly well suited to succeed despite the COVID-19 pandemic. In fact, I understand

         the Debtor has modeled for 2021 a “made-for-TV,” 12-week tournament-style approach to its

         business – since the XFL is particularly well suited for a crowd-free experience that could thrive

         in the current environment, given its existing innovations such as in-game audio from players and

         coaches and live on-screen sports wagering information.

                21.       In conclusion, I believe that approval of the proposed Bidding Procedures and Sale

         Timeline will enable the Debtor to obtain the highest or otherwise best offer for its assets under

         the circumstances and will thereby maximize value for the benefit of all stakeholders in the Chapter

         11 Case.

                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

         and correct.


                                                              /s/ William H. Hardie III
                                                              William H. Hardie III
                                                              Managing Director
                                                              Houlihan Lokey Capital, Inc.


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